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 2                                   UNITED STATES DISTRICT COURT

 3                                         DISTRICT OF NEVADA
 4

 5
       UNITED STATES OF AMERICA,                            Case No.: 2:14-cr-328-KJD-NJK
 6
                       Plaintiff,                            FINDINGS OF FACT, CONCLUSIONS OF
 7                                                                   LAW, AND ORDER
       vs.
 8
 9     JENNIFER PESKETT,

10                     Defendant.
                                             FINDINGS OF FACT
11
             1.      The client is not in custody and does not oppose the continuance.
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             2.      The additional time requested herein is not sought for purposes of delay, but merely
13
      to allow counsel for the defendant sufficient time receive and review the expedited transcripts of the
14
      evidentiary hearings held on May 11, 2015 and August 3, 2015.
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             3.      Denial of this request for continuance would deny counsel for the defendant sufficient
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      time to effectively and thoroughly prepare and submit objections, taking into account the exercise
18
      of due diligence.
19
             4.      Additionally, denial of this request for continuance could result in a miscarriage of
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      justice. The additional time requested by this stipulation is excludable in computing the time within
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      which the trial herein must commence pursuant to the Speedy Trial Act, § 3161(h)(7)(A),
22
      considering the factors under Title 18, United States Code §§ 3161(h)(7)(B).
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             5.      This is the first stipulation to extend objections
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             Based on the pending Stipulation of counsel, good cause appearing therefore, the Court finds
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      that the ends of justice and judicial economy are best served by granting said continuance.
26
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 1                                        CONCLUSIONS OF LAW

 2            The ends of justice served by granting said continuance outweigh the best interest of the

 3    public and the defendant in a speedy trial, since the failure to grant said continuance would be likely
 4    to result in a miscarriage of justice, would deny the parties herein sufficient time and the opportunity

 5    within which to be able to effectively and thoroughly prepare for trial, taking into account the
 6    exercise of due diligence.

 7            The continuance sought herein is excludable under the Speedy Trial Act, Title 18, United

 8    States Code, §§ 3161(h)(1)(A), 3161(h)(7) and Title 18 United States Code, § 3161 (h)(7)(A),
 9    when considering the facts under Title 18, United States Code, §§ 3161(h)(7)(B) and

10    3161(h)(7)(B)(iv).
11                                                   ORDER

12                    IT IS THEREFORE ORDERED, that the Objections to Magistrate Recommendation

13    (CR #91) be extended one month from the presently set September 12, 2015 to and including
14    October 13, 2015.

15
16            DATED 3rd        day of ___________________,
                                       September           2015.

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18                                                    ________________________________
                                                      UNITED STATES DISTRICT JUDGE
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